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                                                                       U.s. DISTRICT COURT E.D.N.Y

UNITED STATES DISTRICT COURT                                           * AU6052015 *
EASTERN DISTRICT OF NEW YORK
                                                                      BROOKLYN OFFICE
UNITED STATES OF AMERICA                               14-CR-0668-003

              - against -                              Statement of Reasons Pursuant to
                                                       18 U.S.C. § 3553(c)(2)
MODESTO MONTORES PEREZ,

                     Defendant.


JACK B. WEINSTEIN, Senior United States District Judge:

Appearances

For United States:
                                                      Nadia E. Moore
                                                      United States Attorney's Office, EDNY
                                                      271 Cadman Plaza East
                                                      Brooklyn, NY 11201
                                                      718-254-6362
                                                      nadia.moore@usdoj.gov



For Defendant:
                                                     Avrom J. Robin
                                                     Law Offices of London & Robin
                                                     99 Park Avenue, Suite 2600
                                                     New York, NY 10016
                                                     212-683-8000
                                                     avrommindspring.com




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  I. Introduction

        Modesto Montores Perez participated, in a limited capacity, in an illegal document

forgery operation. For a total of three transactions, he received $450. Mr. Perez has no other

criminal history. With limited education and few economic prospects in Mexico, he came to the

United States in order to earn money to send home to his wife and daughter. He has worked

continually at construction and menial restaurant jobs since he arrived.

        Outlined below is the court's rationale for imposing a sentence of time-served of some

seven months and a term of three years of supervised release.

        A. Facts

        Between September 2014 and December 2014, Mr. Perez played a minor role at the tail

end of a fraudulent identification document scheme. Presentence Investigation Report 1120-34.

On September 17, November 4, and December 11, 2014, defendant provided a confidential

source with false documents in exchange for money. Id. at TJ 23-37. He received only a small

share of the illegal proceeds: $150 per transaction, amounting to a total of $450. Id.

       B. Arrest, Charge, and Detention

       On December 12, 2014, Mr. Perez was arrested. Id at 1. Found on his person was $1600

in pre-recorded "buy" money. Id at 136. He was charged in a four-count indictment.

Indictment as to Modesto Montores Perez ¶11 1-6, No. 14-CR-0668 (Dec. 24, 2015), ECF No. 9.

Since his arrest, Mr. Perez has remained in custody on the present charges. See Sentencing Hr'g

Tr., July 15, 2015 ("Sent. Hr'g.").

       C. Guilty Plea

       On July 15, 2015, pursuant to a plea agreement, Mr. Perez pled guilty to count two of the

four-part indictment, passport fraud in violation of 18 U.S.C. § 1543. See Id.; Indictment as to


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Modesto Montores Perez ¶ 3, No. 14-CR-0668 (Dec. 24, 2015), ECF No. 9. At the request of the

government, all remaining counts were dismissed. See Sent. Hr'g.

        D. Sentencing

        Mr. Perez was sentenced on July 15, 2015 to time-served some seven months - and

three years supervised release, pursuant to conditions imposed at sentencing. See id.

        The proceeding was videotaped in order to develop an accurate record of the courtroom

atmosphere and the factors and considerations that a district court must evaluate in imposing a

sentence under 18 U.S.C. § 3553(a). See In re Sentencing, 219 F.R.D. 262, 264-65 (E.D.N.Y.

2004) (describing the value of video recording for possible review of sentences on appeal).

 II.    Offense Level, Category, and Sentencing Guidelines Range

        Defendant's total offense level is 15, with a criminal history category of I. Presentence

Investigation Report ¶ 82. The Sentencing Guidelines ("Guidelines") imprisonment range is 18-

24 months. Id. The maximum term of imprisonment is 10 years. 18 U.S.C. § 1543.

        The court may impose a supervised release term of not more than three years. 18 U.S.C.

§ 3583(b)(2). The Guidelines range for a term of supervised release is 1-3 years. U.S.S.G. §

5D 1.2(a)(2).

       A special assessment of $100 is mandatory. 18 U.S.C. § 3013(a)(2)(A). The Guidelines

range for a fine is $4,000440,000. U.S.S.G. § 5E1.2(c)(3).

III.   Law

       A sentencing court shall "state in open court the reasons for its imposition of the

particular sentence." 18 U.S.C. § 3 553(c). If the sentence is not of the kind prescribed by, or is

outside the range of, the Sentencing Guidelines referred to in section 3553(a)(4) of title 18, the

court shall indicate the specific reasons for imposing a different sentence. See 18 U.S.C. §


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3553(c)(2). These "reasons must also be stated with specificity in the written order of judgment

and commitment." Id. Even though the mandatory nature of the Guidelines has been excised

and they are now "advisory," United States v. Booker, 543 U.S. 220, 245-46 (2005), the

sentencing court must still adhere to the requirements of section 3 553(c)(2) of title 18, United

States v. Jones, 460 F.3d 191, 197 (2d Cir. 2006).

       The court's written statement of reasons shall be "a simple, fact-specific statement

explaining why the Guidelines range did not account for a specific factor or factors under

[section] 3553(a)." United States v. Rattoballi, 452 F.3d 127, 138 (2d Cir. 2006), abrogated in

part on other grounds by Kimbrough v. United States, 552 U.S. 85 (2007). Such a statement

should demonstrate that the court "considered the parties' arguments' and that it has a 'reasoned

basis for exercising its own legal decisionmaking authority." United States v. Cavera, 550 F.3d

180, 193 (2d Cir. 2008) (quoting Rita v. United States, 551 U.S. 338, 356 (2007)).

       In view of the excessive incarceration rates in the recent past and their unnecessary,

deleterious effects on individuals sentenced, society and our economy, justifiable parsimony in

incarceration is prized. See, e.g., 18 U.S.C. § 3553(a) ("The court shall impose a sentence

sufficient, but not greater than necessary. . . ."); National Research Council of the National

Academies, The Growth of Incarceration in the United States, Exploring Causes and

Consequences, 8 (2014) ("Parsimony: the period of confinement should be sufficient but not

greater than necessary to achieve the goals of sentencing policy.").

IV. 18 U.S.C. § 3553(a) Considerations

       The court considered the "nature and circumstances of the offense and the history and

characteristics of the defendant." 18 U.S.C. § 3553(a)(1).




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        The offense was serious, but Mr. Perez's involvement was limited in both time and

scope. See supra Part I.A.

        Mr. Perez is now thirty-three years old. Raised in Mexico in humble circumstances, he

experienced a bumpy childhood. Presentence Investigation Report ¶ 61. His parents divorced

when he was five years old; his mother assumed custody. Id. at 1 63. Id. At age twelve, the

defendant completed elementary school and started to work full time on the family's land. Id. at

172. He returned to school at age sixteen; after completing ninth grade at age eighteen, he again

left school for work. Id

        Prior to entering the United States, Mr. Perez worked at a gas station in Mexico. Id. at ¶

76. In August 2007, the defendant immigrated to the United States illegally in search of

employment opportunities to support his wife and daughter, who reside in Mexico. Id. at ¶11 64 ,

66. Since 2007, Mr. Perez has lived in Queens, spending the last three years living with a friend.

Id. at 164.

        After entering the United States, Mr. Perez maintained consistent employment, working

in either construction or as a dishwasher. Id. As the sole financial provider for his wife and

nine-year-old daughter, he sent approximately $250—$300 every two weeks. Id. at 166. Since

his arrest and detention, the defendant's family in Mexico has supported his wife and daughter.

Id. His daughter's studies started to suffer after learning of her father's arrest. Id.

        Mr. Perez has one brother who currently lives and works in Mexico as a taxi driver. Id.

at ¶ 62. Both the defendant's parents and his brother are aware of his arrest; they have remained

supportive of him. Id. at ¶11 61, 62.
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   V.     Sentence

          Under section 3553(a)(2)(B) of title 18, a sentencing court must consider two major

  factors: general and specific deterrence. The prospect of deportation was considered in Mr.

  Lopez's sentencing. See, e.g., Alli-Balogun v. United States, No. 13-CV-07423, 2015 WL

  4273786, at *2 (E.D.N.Y. July 15, 2015); United States v. Sarpong, No. 14-CR-242, 2014 WL

  5363775, at *2 (E.D.N.Y. Oct. 21, 2014); United States v. Chin Chong, No. 13-CR-570, 2014

  WL 4773978, at *13 (E.D.N.Y. Sept. 24, 2014).

         Mr. Perez was sentenced to time-served for years' incarceration, with three years of

  supervised release. See Sent. Hr'g. A $100 special assessment was imposed. Id. No fines were

  imposed because the defendant does not have assets, and it is unlikely that he will have any in

  the future to pay a fine. See id.; Presentence Investigation Report 180.

  VI.    Conclusion

         General and specific deterrence are achieved by the sentence. All relevant elements of

  the Guidelines and statutes have been considered. Respectful consideration was given to the

  Sentencing Commission's policy statements, and all other factors listed under section 3553(a) of

  title 18, to ensure that the sentence is "sufficient, but not greater than necessary, to comply with

  the purposes" of sentencing. 18 U.S.C. § 3553(a).




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                                                          Jack B. Weinstein
                                                          Senior United States District Judge

  Dated: July 28, 2015
         Brooklyn, New York




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